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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT                                                  FILED
                                                             for the                                      October 09, 2024
                                                 Western District of Texas                              CLERK, U.S. DISTRICT COURT
                                                                                                        WESTERN DISTRICT OF TEXAS

                  United States of America                      )                                                    CM
                                                                                                    BY: ________________________________
                             v.                                 )                                                           DEPUTY

                                                                )       Case No. SA-24-MJ-1412
              MIGUEL GONZALEZ (1)                               )
             NORBERTO GONZALEZ (2)                              )
                                                                )
                                                                )
                           Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 8, 2024                             in the county of Bexar                              in the
Western                District of Texas                    , the defendant(s) violated:
            Code Section                                                  Offense Description
                                           Trafficking in Firearms
18 U.S.C. § 933
                                           Penalties: Up to 15 years imprisonment; a fine up to $250,000, or both
                                           such fine and imprisonment; mandatory $100 special assessment; and,
                                           maximum 3 years supervised release


         This criminal complaint is based on these facts:

See Attached Affidavit




              Continued on the attached sheet.

                                                                        THOMAS E FALLON Digitally signed by THOMAS E FALLON
                                                                                        Date: 2024.10.09 10:02:45 -05'00'
                                                                                           Complainant’s signature

                                                                        Thomas Fallon, Special Agent
                                                                                            Printed name and title
    Sworn to before me and signed in my presence.
    Sworn to telephonically and signed electronically.


Date:    October 9, 2024
                                                                                              Judge’s signature

City and state:      San Antonio, Texas                                 Richard B. Farrer, U.S. Magistrate Judge
                                                                                            Printed name and title
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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION


      I, Tom Fallon, being first duly sworn, do depose and state the following:
       I am a Special Agent with the Department of Homeland Security, Homeland
Security Investigations (HSI), and I have been so employed since April 2007. I am
currently assigned to the Homeland Security Investigations (HSI) Special Agent in
Charge (SAC) in San Antonio, Texas. I am a graduate of the Federal Law Enforcement
Training Center and as a result of my training and experience as a Homeland Security
Investigations Agent, my duties include (but are not limited to) the investigation and
enforcement of Titles 8, 18, 19, 21, and 33 of the United States Code.
       Beginning on September 24, 2024, your affiant instructed an HSI confidential
informant (CI) to place an add on a website for the sale of an automatic machine gun that
belonged to the HSI. Your affiant asserts that based upon his experience international
firearms traffickers utilize these websites to purchase illegal firearms. From September
24, 2024, through October 8, 2024, your affiant monitored cellular phone calls to the CI,
who was utilizing a consensual recorded line. During these calls, two Hispanic male
brothers, who were later identified as Norberto and Miguel GONZALES agreed to
purchase two automatic rifles and one 50 caliber semi-automatic rifle for $18,000 in
United States currency. The two automatic rifles and 50 caliber semiautomatic rifle
belong to HSI and were manufactured outside the state of Texas and were brought into
Texas for the purpose of the sale.

       During the negotiations for the firearms purchase, Norberto and Miguel
GONZALEZ informed the CI that they (Norberto and Miguel GONZALES) were
purchasing the firearms for a Mexican drug cartel. Norberto and Miguel GONZALES
also informed the CI that the two automatic rifles and one 50 caliber semi-automatic rifle
were going to be smuggled to the Mexican drug cartel immediately.

       Based upon this information, law enforcement personnel set up a surveillance
operation on October 8, 2024, in San Antonio, Texas, in the Western District of Texas.
During this operation, the CI and an HSI undercover (UC) agreed to meet with Norberto
and Miguel GONZALEZ at a Wal-Mart parking lot in San Antonio, Texas to sale the two
automatic rifles and one 50 caliber semiautomatic rifle to them. At approximately 1700
hours, Norberto and Miguel GONZALEZ arrived at the Walmart parking lot in San
Antonio, Texas in separate vehicles and made contact with the CI and UC. During the
meeting, Norberto and Miguel GONZALEZ inspected the firearms and then both handed
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the CI United States currency in the amount that had been previously negotiated. After
the money was exchanged, law enforcement personnel arrived in their government issued
vehicles and took Norberto and Miguel GONZALEZ into custody.

        Based upon the above information, your affiant believes that probable cause exists
to find that Norberto and Miguel GONZALEZ attempted to traffic firearms in violation
of Title 18, United States Code, Section 933.




                                         THOMAS E        Digitally signed by THOMAS E
                                                         FALLON
                                         FALLON
                                         _______________________________
                                                         Date: 2024.10.09 10:03:30 -05'00'


                                         Thomas Fallon
                                         Special Agent
                                         Homeland Security Investigations


      Sworn telephonically on me this 9th       day of October 2024.




                                  _________________________________
                                  HON. RICHARD B. FARRER
                                  UNITED STATES MAGISTRATE JUDGE
